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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN and WANDREA’ MOSS,



                        Plaintiffs,                              Case No. 23-cv-3754-BAH

        v.                                                    CERTIFICATE OF SERVICE

 RUDOLPH W. GIULIANI,

                        Defendant.


       On May 21, 2024, the undersigned caused copies of each of the following filings, including

exhibits, to be served on Defendant Rudolph W. Giuliani by FedEx overnight delivery to 45 East

66th Street, Apt. 10W, New York, NY 10065, pursuant to Defendant’s written consent (see ECF

No. 14, ¶ 5):

             1. Notice of Order Modifying Automatic Stay (ECF No. 13)

             2. Joint Stipulation and Consent to Entry of Final Judgment (ECF No. 14).

Pursuant to 28 U.S.C. § 1746, I state under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct.


 Executed on: May 21, 2024                      s/ Aaron E. Nathan__________
 New York, New York                             Aaron E. Nathan (1047269)
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